Case 2:11-cr-00100-SAB   ECF No. 217   filed 05/11/12   PageID.775 Page 1 of 8
Case 2:11-cr-00100-SAB   ECF No. 217   filed 05/11/12   PageID.776 Page 2 of 8
Case 2:11-cr-00100-SAB   ECF No. 217   filed 05/11/12   PageID.777 Page 3 of 8
Case 2:11-cr-00100-SAB   ECF No. 217   filed 05/11/12   PageID.778 Page 4 of 8
Case 2:11-cr-00100-SAB   ECF No. 217   filed 05/11/12   PageID.779 Page 5 of 8
Case 2:11-cr-00100-SAB   ECF No. 217   filed 05/11/12   PageID.780 Page 6 of 8
Case 2:11-cr-00100-SAB   ECF No. 217   filed 05/11/12   PageID.781 Page 7 of 8
Case 2:11-cr-00100-SAB   ECF No. 217   filed 05/11/12   PageID.782 Page 8 of 8
